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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


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                                                             :
 WATKINS HOLDINGS S.À R.L. &                                 :
 WATKINS (NED) B.V.,                                         : Civil Action No. 1:20-CV-01081-TFH
                                                             :
      Petitioners,                                           :
                                                             :
      v.                                                     :
                                                             :
 KINGDOM OF SPAIN,                                           :
                                                             :
      Respondent.                                            :
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                                       JOINT STATUS REPORT

        Pursuant to the Court’s Order dated November 1, 2021, Petitioners Watkins Holdings S.à r.l. &

Watkins (NED) B.V. (collectively, “Petitioners”), and Respondent the Kingdom of Spain (“Spain”)

(together “the Parties”) submit the following status report regarding the proceedings before the

International Centre for the Settlement of Investment Disputes (“ICSID”) to annul the Award at issue

in this case.

        1.       On January 3, 2022, the Parties informed the Court that the Annulment Proceedings are

                 ongoing before the Annulment Committee and a hearing on those proceedings is

                 scheduled to take place from February 3 to February 4, 2022.

        2.       There have been no further developments in this matter. The Parties will promptly report

                 any updates to the Court.


Dated: February 2, 2022
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